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  8                             UNITED STATES DISTRICT COURT
  9                            CENTRAL DISTRICT OF CALIFORNIA
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 1 1 ~ UNITED STATES OF AMERICA,

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                                      Plaintiff,              CASE NO. CR-15-00247-MWF
 13
                       v.                                     ORDER OF DETENTION AFTER
 14        CHASE TWOMEY,                                      HEARING ~Fed.R.Cim.P. 32.1(a)~6)
                                                              18 U.S.C. § 143(a) Alle ations o
 15                                                           Violations of Probation/supervised
                                      Defendant.              Release Conditions)
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             On arrest warrant issued by the United States District Court for the
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       l      G~ ~15~(~(~ ~f (q~i~D(~-~fivolving           alleged          violations   of conditions    of
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       probation supervised release:
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                1. The court finds that no condition or combination of conditions will
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                      reasonably assure:
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                      A. (V~ the appearance of defendant as required; and/or
 23
                      B.( ) the safety of any person or the community.
24
               2. The Court concludes:
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                      A.( ) Defendant has failed to demonstrate by clear and convincing
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                               evidence that he is not likely to pose a risk to the safety of any
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                                 ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

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  1                           other persons or the community. Defendant poses a risk to the
  2                           safety of other persons or the community based on:
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  8                   B.(✓~ Defendant has failed to demonstrate by clear and convincing
  9                           evidence that he is not likely to flee ifreleased. Defendant poses
 10                           a flight risk based on: ~"~e ~ `~I~.¢. C~.I~GL-h~v15;
 11                           -Ftt~I,ut'e -b r~or-t -b ~C as IhS-~-~~tct-ed ~ ,
 12                            ~'~ce,+~:~- a„r'►~~~t aril-f~. u,seI
                                                                  o-F" -~.,I,se I~ ; ~-.v►X►~,~:►1a~,.'en,
 13                           ~''~ (Jr~'e~             ivy r,'I Joao
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 16            IT IS ORDERED that defendant be detained.
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20 DATED: October 2, 2020                              G~~~
                                                     HONORABL ALICIA . ROSENBERG
21                                                   UNITED STATES MAG RATE JUDGE
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                                ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

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